            Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 1 of 17



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 3   Los Angeles, California 90067-3021
     Telephone:     (310) 277-7200
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 5   Attorneys for Defendants
     INTERCONTINENTAL HOTELS
 6   GROUP RESOURCES, LLC; IHG
     MANAGEMENT (MARYLAND)
 7   LLC; INTERCONTINENTAL
     HOTELS OF SAN FRANCISCO,
 8   INC; SIX CONTINENTS HOTELS,
     INC.
 9
     [additional counsel on the next page]
10

11
                                     UNITED STATES DISTRICT COURT
12
                                    NORTHERN DISTRICT OF CALIFORNIA
13
     MARK WISE, individually, and on behalf of other     Case No. 3:24-cv-01161-AMO
14   members of the general public similarly situated,
                                                         Honorable Araceli Martinez-Olguin
15                     Plaintiff,
                                                         SUPPLEMENTAL DECLARATION OF
16          v.                                           LEO Q. LI IN SUPPORT OF
                                                         DEFENDANTS’ REPLY TO PLAINTIFF
17   INTERCONTINENTAL HOTELS GROUP                       MARK WISE’S OPPOSITION TO
     RESOURCES, LLC, a Delaware limited liability        DEFENDANTS’ MOTION TO STAY
18   company; IHG MANAGEMENT (MARYLAND)                  PROCEEDINGS
     LLC, a Maryland limited liability company;
19   INTERCONTINENTAL HOTELS OF SAN                      Date:       October 3, 2024
     FRANCISCO, INC., a Delaware corporation; SIX        Time:       2:00 p.m.
20   CONTINENTS HOTELS, INC., a Delaware                 Ctrm:       10
     corporation; and DOES 1 through 100, inclusive,
21                                                       Complaint Filed:   December 29, 2023
                       Defendants.                       Trial:             None Set
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     SUPPLEMENTAL DECLARATION OF LEO Q. LI ISO DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO
                          DEFENDANTS’ MOTION TO STAY PROCEEDINGS
            Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 2 of 17



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 9   Attorneys for Defendants
     INTERCONTINENTAL HOTELS
10   GROUP RESOURCES, LLC; IHG
     MANAGEMENT (MARYLAND)
11
     LLC; INTERCONTINENTAL
12   HOTELS OF SAN FRANCISCO,
     INC; SIX CONTINENTS HOTELS,
13   INC.
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     SUPPLEMENTAL DECLARATION OF LEO Q. LI ISO DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO
                          DEFENDANTS’ MOTION TO STAY PROCEEDINGS
            Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 3 of 17



 1                            SUPPLEMENTAL DECLARATION OF LEO Q. LI

 2          I, Leo Q. Li, declare and state as follows:

 3          1.      I have personal knowledge of the facts contained in this declaration, and if called as a

 4   witness, I could and would testify as to their accuracy.

 5          2.      I am admitted to practice in the State of California, and I am a partner at the law firm of

 6   Seyfarth Shaw LLP. I am also the counsel for Defendants InterContinental Hotels Group Resources,

 7   LLC, IHG Management (Maryland) LLC, Intercontinental Hotels of San Francisco Inc., and Six

 8   Continents Hotels, Inc. (collectively as “IHG”) in the above-captioned matter (“Wise”).

 9          3.      To date, Plaintiff Robert Martinez (“Martinez”) and his counsel have not agreed to

10   narrow the scope of the proposed class or abandon any claims that were asserted in Martinez.

11          4.      Since the filing of the Motion to Stay in this case, the parties in Martinez have made

12   further substantial progress in completing the necessary pre-class certification discovery. The parties

13   have negotiated an agreed-upon sample for the time and pay records of the proposed class members. The

14   parties have also negotiated an agreed-upon sample of the class list and the permissive use of the private

15   contact information of the potential class members, which the defendants produced on June 24, 2024.

16          5.      Counsel for Martinez has issued a deposition notice for the person most knowledgeable

17   under Rule 30(b)(6) and identified 16 topics to be covered at the deposition, as well as 29 separate

18   document requests to be produced at deposition. A true and correct copy of the deposition notice is

19   attached herein as Exhibit A.

20          6.      The parties in Martinez have completed Martinez’s deposition on July 24, 2024.

21          7.      The parties in Martinez have exchanged their first sets of discovery requests, including

22   the requests for production of documents and special interrogatories. Martinez has provided his

23   responses to the defendants’ first set of requests for production of documents.

24          8.      The parties in Wise have not made any substantial progress. The parties have not

25   exchanged any documents. No discovery plan is in place. No depositions have been taken or scheduled

26   in Wise. No scheduling order was issued and no deadlines have been set by this Court. Nor have the

27   parties participated in any settlement conferences or exchanged information to discuss a possible early

28   resolution of Wise.
                                                          1
     SUPPLEMENTAL DECLARATION OF LEO Q. LI ISO DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO
                          DEFENDANTS’ MOTION TO STAY PROCEEDINGS
             Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 4 of 17



 1           I declare under penalty of perjury under the laws of the State of California and the laws of the United

 2   States of America that the foregoing is true and correct.

 3           Executed this 26th day of July, 2024, in Los Angeles, California.

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 5                                                       LEO Q. LI

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     SUPPLEMENTAL DECLARATION OF LEO Q. LI ISO DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO
                          DEFENDANTS’ MOTION TO STAY PROCEEDINGS
Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 5 of 17




 EXHIBIT A
     Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 6 of 17



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     9440 Santa Monica Blvd. Suite 301
 5   Beverly Hills, CA 90210
     Tel. (866) 276-7637
 6   Fac. (310) 510-6429

 7   Attorneys for Plaintiff
     ROBERT MARTINEZ
 8
                                  UNITED STATES DISTRICT COURT
 9
                                 SOUTHERN DISTRICT OF CALIFORNIA
10
     ROBERT MARTINEZ, as an individual             Case No.: 3:24-cv-00210-L-DEB
11   and on behalf of all others similarly
     situated,                                     [Assigned to the Hon. Daniel E. Butcher, Crtrm
12                                                 2B]
                    Plaintiff,
13                                                 PLAINTIFF’S NOTICE OF DEPOSITION OF
          v.
                                                   DEFENDANT IHG MANAGEMENT
14
     IHG MANAGEMENT (MARYLAND)                     (MARYLAND) LLC’S PERSON MOST
15   LLC, a Maryland Limited Liability             KNOWLEDGEABLE PURSUANT TO FED.
     Company; INTER-CONTINENTAL                    R. CIV. P. 30(b)(6)
16   HOTELS CORPORATION, a Delaware
     Corporation; INTERCONTINENTAL                 Date:       July 30, 2024
17   HOTELS GROUP RESOURCES, LLC, a
     Delaware Limited Liability Company; and       Time:       9:30 a.m.
     DOES 1-100, inclusive,                        Place:      Virtually / By Remote Access
18
                                                               Steno Connect
19                     Defendants.

20                                                 Complaint filed: December 28, 2023
                                                   Trial date:      None set
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                PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
      Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 7 of 17



 1   TO DEFENDANT AND ITS ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE THAT, pursuant to Rule 30 of the Federal Rules of Civil
 3   Procedure (“Fed. R. Civ. P.”), Plaintiff ROBERT MARTINEZ will take the deposition(s) upon
 4   oral examination of Defendant IHG MANAGEMENT (MARYLAND) LLC (“Defendant”), for
 5   use in discovery and at trial, by remote audio-video conference, on July 30, 2024, at 9:30 a.m.
 6   PST, continuing from day to day thereafter, Sundays and holidays excepted, until completed.
 7   Pursuant to Fed. R. Civ. P. 30(b)(6), Defendant shall designate one or more officers, directors, or
 8   managing agents, or other persons who consent to testify on Defendant’s behalf, and may set forth,
 9   for each person designated, the matters on which the person will testify as enumerated in Exhibit
10   A. The person so designated shall testify as to matters known or reasonably available to Defendant.
11          PLEASE TAKE FURTHER NOTICE that pursuant to Rule 30(b)(3)(A) of the Federal
12   Rules of Civil Procedure, the deposition will be taken, under oath, before a certified court reporter
13   or other officer authorized to administer oaths. Pursuant to Fed. R. Civ. P. 30(b)(4) and 32(a),
14   Plaintiff intends to have the deposition recorded stenographically, by audiotape, and/or by
15   videotape, and to use a method of instant visual display of the testimony and reserves the right to
16   use the recordings at trial. If the parties agree that the deposition may be taken by remote means,
17   please contact Plaintiff’s counsel at least five (5) calendar days prior to confirm.
18           PLEASE TAKE FURTHER NOTICE that, pursuant to Fed. R. Civ. P. Rules 30(b)(2)
19   and 34, Deponent shall appear at the deposition with all documents, ESI, and/or other things
20   responsive to Plaintiff’s production demands as described and listed in Exhibit B to this notice.
21          PLEASE TAKE FURTHER NOTICE that if an interpreter will be required, Defendant’s
22   counsel is requested to advise Plaintiff no later than five (5) days before the date of the deposition.
23

24   Dated: July 2, 2024                     CROSNER LEGAL, P.C.
25                                           _____________________________
26                                           Karen L. Wallace
                                             Attorneys for Plaintiff
27                                           ROBERT MARTINEZ

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                  PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
      Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 8 of 17



 1                                DEFINITIONS FOR EXHIBITS A, B
 2           1.      PLAINTIFF means ROBERT MARTINEZ, the named plaintiff in this action.
 3           2.      DEFENDANT means IHG MANAGEMENT (MARYLAND) LLC, a named
 4   defendant in this action, and any person(s) acting or authorized to act on its behalf.
 5           3.      “COMPLAINT” refers to PLAINTIFF’s original complaint filed in this action, San
 6   Diego Superior Court Case No. 37-2023-00056196-CU-OE-CTL and removed to the United States
 7   District Court for the Southern District of California on April 20, 2023, and currently designated as
 8   Case No. 3:24-cv-00210-L-DEB. (See ECF No. 1-2.)
 9           4.      “CLASS MEMBERS” means all current and former non-exempt employees,
10   including PLAINTIFF, who worked either directly or via a staffing agency for DEFENDANT in
11   California at any time during the CLASS PERIOD.
12           5.      “CLASS PERIOD” means from December 28, 2019, to the present.
13           6.      “DOCUMENT(S)” means any writing or recorded matter as defined by Fed. R.
14   Evid. 1001 and Fed. R. Civ. P. 34(a)(1).
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                  PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
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 1                                               EXHIBIT A
 2                                     TOPICS OF EXAMINATION
 3           1.      Employment-related records kept and maintained by DEFENDANT during the
 4   CLASS PERIOD, including timekeeping and payroll records. This topic will cover, without
 5   limitation: the contents and scope of the information maintained; where such records are
 6   currently located; how they are kept and accessed; and the identity of personnel with special
 7   knowledge or permissions with respect to any databases used.
 8           2.      Software, programs, databases, and/or platforms used by DEFENDANT during the
 9   CLASS PERIOD to track and/or record the hours worked by non-exempt employees. This topic
10   will cover, without limitation: the names and versions of any such timekeeping system(s); the
11   time periods any such timekeeping system was used; features intended to ensure compliance
12   with applicable law; and how to interpret the data maintained.
13           3.      Software, programs, databases, and/or platforms used by DEFENDANT to process
14   payroll during the CLASS PERIOD. This topic will cover, without limitation, compensation with
15   respect to: non-discretionary remuneration, including bonuses and other incentive pay; the
16   calculation of rates of pay for premium wages; the accrual and use of vacation pay, paid sick
17   leave, and/or paid time off; the calculation and payment of final wages on separation of
18   employment; meal period and rest period premiums; reporting time pay; split shift premiums;
19   and gratuities and/or service charges.
20           4.      DEFENDANT’S policies and practices that pertain to adjustments, corrections,
21   and/or other edits to CLASS MEMBERS’ timekeeping records during the CLASS PERIOD. This
22   topic will cover, without limitation: capturing work performed off-the-clock; audit trails and other
23   DOCUMENTS maintained by DEFENDANT to track such adjustments; entry of all such
24   adjustments, including whether information is overwritten; and personnel authorized to make such
25   adjustments.
26           5.      DEFENDANT’S policies and practices that pertain to adjustments, corrections,
27   and/or other edits to CLASS MEMBERS’ payroll records during the CLASS PERIOD. This topic
28   will cover, without limitation: audit trails and other DOCUMENTS maintained by DEFENDANT
                                                         4
                    PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
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 1   to track such adjustments; entry of all such adjustments, including whether information is
 2   overwritten; and personnel authorized to make such adjustments.
 3           6.     DEFENDANT’S rest period policies and practices during the CLASS PERIOD.
 4           7.     DEFENDANT’S meal period policies and practices during the CLASS PERIOD.
 5           8.     The format and content of wage statements and/or paystubs issued by
 6   DEFENDANT during the CLASS PERIOD, including all payroll and earning codes.
 7           9.     DEFENDANT’S policies and practices for paying CLASS MEMBERS gratuities
 8   and/or service charges paid by customers/guests.
 9           10.    DEFENDANT’S method for calculating the employee’s regular rate of pay for
10   purposes of premium wages during the CLASS PERIOD.
11           11.    DEFENDANT’S policies and practices for paying final wages to CLASS
12   MEMBERS upon separation of employment, including the calculation of the employee’s final
13   rate of pay for purposes of unused, accrued vacation pay, paid sick leave, and/or other paid time
14   off.
15           12.    DEFENDANT’S policies and practices for scheduling CLASS MEMBERS’ work
16   hours. This topic will cover, without limitation: attendance; coverage for breaks; and any
17   employment agreement in effect during the CLASS PERIOD that changes or modifies applicable
18   law with respect to non-exempt employees.
19           13.    All job titles and/or positions of CLASS MEMBERS.
20           14.    DEFENDANT’S policies and practices for the use of personal cell phones, radios,
21   and/or other hand-held communication devices during the CLASS PERIOD.
22           15.    DEFENDANT’S policies and practices for the use of personal vehicles during the
23   CLASS PERIOD.
24           16.    DEFENDANT’S policies and practices for the review of CLASS MEMBERS’
25   overall performance and productivity.
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                   PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
     Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 11 of 17



 1                                              EXHIBIT B
 2                                   REQUESTS FOR PRODUCTION
 3   INSTRUCTIONS:
 4          1.         Partial Production. Whenever DEFENDANT objects to a particular demand or
 5   portion thereof, DEFENDANT must produce all DOCUMENTS called for that are not subject to
 6   that objection. Similarly, wherever a DOCUMENT is not produced in full, please state with
 7   particularity the reason(s) it is not being produced in full and describe, to the best of
 8   DEFENDANT’s knowledge, information, and belief and with as much particularity as possible,
 9   those portions of the DOCUMENT that are not produced.
10          2.         Orderly Response. Where it is reasonably practicable, please produce
11   DOCUMENTS in manner that will facilitate their identification with the demand(s) to which they
12   are responsive.
13          3.         Construction of “And” and “Or”. As used herein, the words “and” and “or” shall
14   be construed both conjunctively and disjunctively, and each shall include the other wherever such
15   dual construction will serve to bring within the scope of these Requests any DOCUMENT that
16   would otherwise not be brought within their scope.
17          4.         Construction of the Singular and Plural Forms. As used herein, the singular
18   form shall include the plural and vice versa wherever such dual construction will serve to bring
19   within the scope of these Requests any DOCUMENT that would otherwise not be brought within
20   their scope. In responding to these requests, DEFENDANT is required to produce all requested
21   DOCUMENTS in the possession, custody, or control of DEFENDANT or DEFENDANT’s agents,
22   accountants, employees, representatives, investigators, experts, attorneys, or anyone acting on
23   DEFENDANT’s behalf or anyone over whom DEFENDANT exercises control with respect to
24   DOCUMENTS in that PERSON’s possession, regardless of where the DOCUMENTS may be
25   located.
26          5.         In responding to these discovery requests, DEFENDANT is requested to respond in
27   writing and state as to each of these discovery requests:
28               a. That there are such DOCUMENTS and whether they will be produced in full or in
                                               6
                 PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
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 1                     part;
 2                b. That there are such DOCUMENTS, but DEFENDANT refuses to produce them
 3                     because of a claim of privilege or privacy right or for some other reason; or
 4                c. That there are no such DOCUMENTS responsive to the particular discovery request
 5                     in DEFENDANT’s possession, custody, and/or control.
 6           6.        If any requested DOCUMENT was but is no longer in DEFENDANT’s possession,
 7   custody, and/or control, or is no longer in existence, DEFENDANT must identify the DOCUMENT
 8   and state whether: (i) it has been destroyed; (ii) it has been lost, misplaced or stolen; or (iii) it has
 9   never been or is no longer in DEFENDANT’s possession, custody, and/or control, in which case
10   the name and address of any PERSON known or believed to have possession, custody or control
11   of that DOCUMENT or category of DOCUMENTS should be identified. In each such instance,
12   DEFENDANT should explain the circumstances surrounding the disposition of the DOCUMENTS
13   and identify all PERSONS who have knowledge of such disposition.
14           7.        If any DOCUMENT covered by any discovery request is withheld by reason of a
15   claim of privilege and/or privacy right, a list is to be furnished at the time the DOCUMENTS are
16   due to be produced, identifying any such DOCUMENT for which the privilege and/or privacy right
17   is claimed, together with the following information for such document:
18                a. The author(s) of the DOCUMENT;
19                b. The addressee(s), if any, and those PERSONS, if any, specified in the DOCUMENT
20                     to receive a copy thereof;
21                c. All known recipients of the DOCUMENT;
22                d. The sender of the DOCUMENT;
23                e. The title of the DOCUMENT;
24                f. Whether there are, or were indicated, blind copies of that DOCUMENT;
25                g. The date the DOCUMENT was created;
26                h. The date on which the DOCUMENT was sent or received;
27                i.   The general subject-matter of the DOCUMENT; and
28                j.   The specific privilege(s) and/or privacy right(s) that PLAINTIFF contends apply to
                                                         7
                   PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
      Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 13 of 17



 1                   the DOCUMENT, e.g., attorney-client privilege, attorney work product or other
 2                   applicable privilege.
 3           8.      If DEFENDANT objects to production of any DOCUMENT on any other ground,
 4   such objection must be fully and specifically stated, including the grounds therefor.
 5           9.      These discovery requests require the production of DOCUMENTS either in the
 6   same form and in the same order as they are kept in their normal course or organized and labeled
 7   to correspond with the particular demand set forth below. If DEFENDANT chooses the former
 8   method, the DOCUMENTS are to be produced in boxes, file folders, binders or any other containers
 9   in which the DOCUMENTS are found. The titles or other descriptions on the boxes, file folders,
10   binders, or containers are to be left intact.
11   REQUEST NO. 1:
12          All DOCUMENTS bearing PLAINTIFF’S signature.
13   REQUEST NO. 2:
14          PLAINTIFF’S PERSONNEL FILE. This request expressly includes PLAINTIFF’S
15   timekeeping and other payroll records.
16   REQUEST NO. 3:
17           A list of all job titles or positions held by CLASS MEMBERS.
18   REQUEST NO. 4:
19          All DOCUMENTS that explain or describe tasks CLASS MEMBERS in each job title and/or
20   position are required to perform at the beginning and/or end of shifts during the CLASS PERIOD.
21   REQUEST NO. 5:
22          All DOCUMENTS that list and/or describe uniforms or other standardized clothing and/or
23   equipment, including PPE, CLASS MEMBERS in each job title and/or position were required to
24   wear in the performance of their duties.
25   REQUEST NO. 6:
26           All DOCUMENTS that explain or describe DEFENDANT’S timekeeping system(s) in
27   effect during the CLASS PERIOD, including any manual or reference guide, or their equivalent.
28   ///
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                  PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
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 1   REQUEST NO. 7:
 2          All DOCUMENTS that explain or describe DEFENDANT’S timekeeping policies and
 3   practices in effect during the CLASS PERIOD.
 4   REQUEST NO. 8:
 5          All manuals or reference guides, or their equivalent, for the payroll system DEFENDANT
 6   used during the CLASS PERIOD. This request expressly contemplates the disclosure of
 7   DEFENDANT’S payroll codes.
 8   REQUEST NO. 9:
 9          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for
10   rounding CLASS MEMBERS’ time punches.
11   REQUEST NO. 10:
12          All DOCUMENTS that pertain to DEFENDANT’S policies and practices in effect during
13   the CLASS PERIOD for paying shift differentials.
14   REQUEST NO. 11:
15          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for
16   paying split shift premiums during the CLASS PERIOD.
17   REQUEST NO. 12:
18          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for
19   paying reporting time pay during the CLASS PERIOD.
20   REQUEST NO. 13:
21          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for the
22   provision, timing, and enforcement of rest periods during the CLASS PERIOD.
23   REQUEST NO. 14:
24          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for the
25   provision, timing, and enforcement of meal periods during the CLASS PERIOD.
26   REQUEST NO. 15:
27          All DOCUMENTS, excluding wage statements, that explain or describe monies deducted
28   from CLASS MEMBERS’ pay during the CLASS PERIOD, including the amount and purpose of
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                 PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
      Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 15 of 17



 1   each such deduction.
 2   REQUEST NO. 16:
 3          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for
 4   reimbursing non-exempt employees for expenditures necessarily incurred in the performance of
 5   their duties during the CLASS PERIOD.
 6   REQUEST NO. 17:
 7          All DOCUMENTS that explain or demonstrate DEFENDANT’S method of calculating the
 8   employee’s regular rate of pay for purposes of premium wages during the CLASS PERIOD.
 9   REQUEST NO. 18:
10           All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for
11   paying gratuities and/or service charges paid by customers and/or guests during the CLASS
12   PERIOD.
13   REQUEST NO. 19:
14          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for
15   paying final wages to CLASS MEMBERS upon termination of the employment relationship since
16   August 9, 2020.
17   REQUEST NO. 20:
18          All DOCUMENTS that explain or describe DEFENDANT’S policies and practices for
19   altering or editing CLASS MEMBERS’ timekeeping and/or payroll records.
20   REQUEST FOR PRODUCTION NO. 21:
21           All DOCUMENTS that explain or describe DEFENDANT’S policies and practices in effect
22   during the CLASS PERIOD for scheduling non-exempt employees, including with respect to
23   covering breaks, late shift turnovers, and unexpected absences.
24   REQUEST NO. 22:
25          All employee handbooks, or their equivalent, and related training materials prepared for
26   and/or distributed to CLASS MEMBERS.
27   REQUEST NO. 23:
28          All training materials provided to managers and/or supervisors during the CLASS PERIOD
                                                     10
                 PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
      Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 16 of 17



 1   that pertain to DEFENDANT’S employee handbooks, or their equivalent, including
 2   DEFENDANT’s policies and practices for attendance, timekeeping, and payroll.
 3   REQUEST NO. 24:
 4          All DOCUMENTS that explain or describe changes made to the format of wage statements
 5   issued to CLASS MEMBERS by DEFENDANT during the CLASS PERIOD.
 6   REQUEST NO. 25:
 7          All DEFENDANT’S ad hoc written policies and procedures, including those memorialized
 8   in text messages, emails, or other electronic format, that apply to CLASS MEMBERS regarding
 9   their employment, including attendance, timekeeping, and payroll.
10   REQUEST NO. 26:
11          Charts and/or directories sufficient to show or describe DEFENDANT’S organizational
12   and/or management structure at all times during the CLASS PERIOD.
13   REQUEST FOR PRODUCTION NO. 27:
14          All DOCUMENTS that explain or memorialize any employment agreement that changes or
15   modifies the requirements prescribed by the Labor Code and/or applicable Wage Orders and to
16   which CLASS MEMBERS were subject during the CLASS PERIOD, such as an Alternative
17   Workweek Schedule or Collective Bargaining Agreement. This request expressly excludes any
18   responsive item protected from disclosure by the attorney-client privilege or attorney work product
19   doctrine.
20   REQUEST NO. 28:
21          All meal period waivers signed by non-exempt employees at the InterContinental San Diego
22   during the CLASS PERIOD.
23   REQUEST FOR PRODUCTION NO. 29:
24          All arbitration agreements signed by non-exempt employees during the CLASS PERIOD.
25

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                                                     11
                 PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
      Case 3:24-cv-01161-AMO Document 22-1 Filed 07/26/24 Page 17 of 17



 1                                        PROOF OF SERVICE
 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
            I, the undersigned, certify and declare that I am over the age of 18 years, employed in the
 3   County of Los Angeles, State of California, and not a party to the above-entitled cause. My business
 4   address is Crosner Legal, P.C., 9440 Santa Monica Blvd., Ste. 301, Beverly Hills, CA 90210.

 5         On July 2, 2024, I served true copies of the following document(s) described as:

 6          PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT
            (MARYLAND) LLC’S PERSON MOST KNOWLEDGEABLE PURSUANT TO
 7          FED. R. CIV. P. 30(b)(6)
 8
            on the interested parties in this action as follows:
 9
      Eric E. Hill                                       Attorneys for Defendant
10    Ping Wang                                          IHG MANAGEMENT (MARYLAND) LLC;
      SEYFARTH SHAW LLP                                  INTER-CONTINENTAL HOTELS
11    560 Mission Street, Suite 3100
      San Francisco, California 94105-2930               CORPORATION; and
12    Direct: +1-415-544-1037                            INTERCONTINENTAL HOTELS GROUP
      Fax: +1-415-839-9037                               RESOURCES, LLC
13    Email: EHill@seyfarth.com
              PWang@seyfarth.com
14
      Leo Q. Li
15    SEYFARTH SHAW LLP
      2029 Century Park East, Suite 3500
16    Los Angeles, California 90067-3021
      Tel.: (310) 277-7200
17    Fax: (310) 201-5219
      Email: LLi@seyfarth.com
18

19   [] BY EMAIL. I caused the documents to be sent to the person(s) at the e-mail address(es)
           listed above in keeping with California Code of Civil Procedure § 1010.6 and pursuant to
20         CRC 2.251(C)(3). The transmission was either reported as being sent, complete and without
           error, or I did not receive, within a reasonable time after the transmission, any electronic
21         message or other indication that the transmission was unsuccessful, to the addressees as
           stated above.
22
             I declare under penalty of perjury under the laws of the United States of America that the
23
     foregoing is true and correct and that I am employed in the office of a member of the bar of this
24
     Court at whose direction the service was made.
25

26           Executed on July 2, 2024, at Santa Monica, California.

27                                                  _____________________
                                                    Karen Wallace
28
                                                        12
                 PLAINTIFF’S NOTICE OF DEPOSITION OF DEFENDANT IHG MANAGEMENT (MARYLAND) LLC
